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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF THE DISTRICT OF COLUMBIA

KAY PATTESON
and GARY PATTESON

Case: 1:10-CV-01760
Judge James E. Boasberg

Plaintiffs,
Vv.
JOHN R. MALONEY, M.D.,

Defendant.

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DEFENDANT JOHN MALONEY, M.D.’S MOTION FOR FRYE HEARING TO
PRECLUDE PLAINTIFF’S EXPERTS’ TESTIMONY THAT SEROQUEL CAN CAUSE
TARDIVE DYSKINESIA

COMES NOW Defendant, John R. Maloney, M.D., by and through his counsel,
Gregory S. McKee and Wharton, Levin, Ehrmantraut & Klein, P.A., and hereby files the
instant Motion for Frye Hearing regarding the testimony of Plaintiff's experts and treating
physician fact witness as to the issue of Seroquel-induced tardive dyskinesia. In
support thereof, Defendant states:

1. This is a complex medical malpractice action involving Defendant's psychiatric
treatment of Plaintiff and specifically, Defendant's prescription of the
antipsychotic medication Seroquel to Plaintiff during the course of treatment.
Plaintiff alleges that as a result of this prescription, she suffered Seroquel-
induced tardive dyskinesia.

2. Plaintiff has designated expert witnesses who intend to testify — and have already
done so at deposition — that Seroquel can cause tardive dyskinesia. One of

Plaintiff's non-expert treating physicians has also testified at deposition to a
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causal link between Seroquel and tardive dyskinesia.

3. However, Plaintiff's experts’ proposed testimony is not sufficiently established to
have gained general acceptance in the scientific community and as a result,
Plaintiffs experts (and fact witnesses) cannot render a reasonable opinion in this

regard. See Frye v. U.S., 54 App.D.C.46 (1923); Dyas v. United States, 376

A.2d 827, 832 (D.C. 1977).

4. As Plaintiff's expert's proposed testimony fails the requirements for evidentiary
reliability set forth in Frye and Dyas, Plaintiff's experts (and fact witnesses)
should be precluded from testifying that Seroquel can cause tardive dyskinesia.

5. To this end, Defendant respectfully requests a Frye hearing prior to the
anticipated testimony of Plaintiff's experts and treating physicians.

6. Defendant incorporates by reference herein the supporting Memorandum of
Points and Authorities filed simultaneously herewith.

WHEREFORE, Defendant John R. Maloney, M.D. respectfully requests that this
Honorable Court grant the instant Motion for Frye hearing prior to the testimony of
Plaintiff's anticipated experts and fact witnesses regarding the causation question of
Seroquel-induced tardive dyskinesia.

Respectfully submitted,

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CERTIFICATE OF SERVICE

| HEREBY CERTIFY that on this 15 day of July, 2013, a copy of Defendant John
R. Maloney, M.D.’s Motion for Frye Hearing was sent via e-mail and mailed, postage
prepaid, to: .

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF THE DISTRICT OF COLUMBIA

KAY PATTESON
and GARY PATTESON

Case: 1:10-CV-01760
Judge James E. Boasberg

Plaintiffs,
V.
JOHN R. MALONEY, M.D.,

Defendant.

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MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF DEFENDANT JOHN
MALONEY, M.D.’S MOTION FOR FRYE HEARING TO PRECLUDE EVIDENCE
REGARDING PLAINTIFFS’ ALLEGATION THAT SEROQUEL CAN CAUSE
TARDIVE DYSKINESIA

COMES NOW Defendant, John R. Maloney, M.D. (“Defendant”), by and through
his counsel, Gregory S. McKee and Wharton, Levin, Ehrmantraut & Klein, P.A., and
hereby files the instant Memorandum of Points and Authorities in Support of his Motion
for a Frye Hearing to preclude evidence regarding Plaintiff's allegation that Seroquel
can cause tardive dyskinesia, and states as follows:

I. BACKGROUND

Though the instant motion is styled as motion to preclude, if granted, it will in
actuality operate as a dispositive motion, serving as the basis for a motion for judgment
as Plaintiff would be prohibited from offering evidence necessary to prove causation.
Absent the ability to prove causation, Plaintiff's suit would necessarily fail.

Statement of Relevant Facts
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This is a complex medical malpractice case involving Defendant’s psychiatric
treatment of Plaintiff which began when she first presented to Defendant on May 30,
2006. Along with her chief complaints of anxiousness and depression, Defendant noted
a significant history of alcohol abuse and dependence. Plaintiff also experienced
periods of insomnia associated with her underlying conditions. She was given a
working diagnosis of depression, anxiety and alcohol dependence. As a result,
Defendant recommended an in-patient rehabilitation clinic for her alcoholism (Plaintiff
declined hospitalization for detoxification) and medications which were utilized to treat
both the alcohol and depression. Plaintiff also declined outpatient treatment for her
dependence issues.

Plaintiff returned to Defendant on June 8, 2006, at which time she stated that she
was doing well on her medications but was still having difficulty sleeping. Defendant
prescribed Trazodone’ for her insomnia. On June 22, 2006, Plaintiff again returned to
Defendant's office at which time she indicated the Trazodone was ineffective in
resolving her insomnia. As an alternative, Defendant placed Plaintiff on Seroquel, a
second-generation (atypical) antipsychotic medication, to treat Plaintiff's sleep disorder.
Plaintiff continued to see Defendant through the remainder of 2006 and into 2007.

On June 5, 2007, Plaintiff reported to Defendant that she was having some
difficulty walking for which she was seeing a neurologist. On August 3, 2007, Plaintiff
returned to Defendant's office and reported experiencing muscle spasms. On August 5,

2007, Plaintiff saw her treating neurologist, Dr. Peter Bernad and asked him whether

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Trazodone is an antidepressant medication that is also commonly prescribed for sleeping disorders.

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her neuromuscular difficulties were due to Seroquel; Dr. Bernad was unable to make a
Seroquel-induced tardive dyskinesia diagnosis.

Plaintiff ultimately filed the instant law suit, alleging, among other things, that
Defendant improperly managed and treated her with the prescription of Seroquel.
Specifically, Plaintiff alleged that “[a] reasonably prudent provider of psychiatric medical
care would and should have known that ‘Tardive Dyskinesia’, [sic] a severely debilitating
neurologic condition, is a known potential side effect of anti psychotic medications,
including Seroquel.” Amended Complaint at 47, attached hereto as Exhibit 1. Plaintiff
further alleged that as a result of Defendant's prescription of Seroquel to Plaintiff,
“plaintiff Ms. Patteson developed and now suffers from tardive dyskinesia.” Id. at 948.
In short, Plaintiff has alleged that the Seroquel prescribed by Defendant caused her to
suffer tardive dyskinesia. ”

Seroquel

In the 1950s, a class of medications referred to as “typical” or “first-generation”
antipsychotics were developed for the purpose of treating psychosis and other serious
mental disorders. Rak Deposition, attached hereto as Exhibit 2, at 89:19 — 90:17.
These “typical” antipsychotics, which included medications such as chlorpromazine,
haloperidol and perphenazine, possessed a side effect profile that included the
movement disorders EPS (extrapyramidal symptoms) and tardive dyskinesia.? Id. at
91:15 — 92:9. As a result of the common and serious nature of these side effects, the

medical field recognized the need to develop a new type of antipsychotic medication

* There is question as to whether Plaintiff actually suffered from tardive dyskinesia. However, as that
issue is a question of fact, it will not be addressed in the instant Motion.

“EPS relates to motor or movement related manifestations that occur early in the course of treating a
patient with a medication,” whereas tardive dyskinesia is a movement disorder which manifests later in
the course of treatment — hence the term “tardive.” Rak Deposition at 20:20 — 21:11.

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with an altered chemical makeup that would result in a side effect profile carrying a
significantly lower, if not non-existent, risk of movement disorders. Id. at 92:10-20. The
new antipsychotic medications developed are known as “atypical” or “second-
generation” antipsychotics. These second-generation antipsychotics are known as
“atypical” because they are not associated with EPS or tardive dyskinesia. Id. These
second-generation antipsychotics include Seroquel which was approved by the FDA in
1997. Id. at 79:6-9.

No scientific methodology has attributed Seroquel to causing tardive dyskinesia.
See infra. There are no medical studies or literature that attrioute Seroquel to causing
tardive dyskinesia. See infra. Any link between Seroquel and tardive dyskinesia is
based entirely on conjecture.

ll. LEGAL STANDARD

1. Plaintiff's Causation Burden

Medical malpractice cases generally require expert testimony on the issue of

causation. See Lasley v. Georgetown University, 688 A.2d 1381, 1384-85 (D.C. 1997)

In Lasley, the Court held that “[oJur rule for medically complicated cases is that proof of
causation normally requires medical opinion testimony.” The Court further noted that “in
a medical malpractice case, there is the ever-present possibility that it was the patient’s
original affliction rather than the physician’s negligence which caused the ultimate
damage.” Id. at 1386 (quoting 1 David W. Louisell & Harold Williams, MEDICAL
MALPRACTICE § 8.05 at 8-71 (1995)) (emphasis supplied). Because “a mere temporal
coincidence between two events does not necessarily entail a substantial causal

relation between them[,]. . .without more, [a] proximate temporal relationship will not
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support a finding of causation.” Id. at 1387. In other words, “[a] court may conclude
that there is simply too great an analytical gap between the data and the opinion

proffered.” General Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997).

2. General Causation vs. Specific Causation

There are two types of causation: general causation and specific causation.
“[G]eneral causation is whether the substance is capable of causing a particular injury
or condition in the general population, while specific causation is whether a substance

caused a particular individual’s injury.” Merrell Dow v. Havner, 953 S.W.2d 706, 714-15

(Tex. 1997); see_also Raynor v. Merrell Pharmaceuticals, Inc., 104 F.3d 1371, 1376

(D.C. Cir. 1997) (discussing general and specific causation); In_re Breast_Implant

Litigation, 11 F.Supp.2d 1217, 1224 (D.Colo. 1998) (holding that a plaintiff must
demonstrate “both general and specific causation—that is, that the [alleged causative
agent is] capable of causing the conditions complained of, and that the [alleged
causative agent was] the cause-in-fact of the specific conditions.”).

3. Profferor of Expert Testimony Bears the Burden of Proof

The profferor of expert testimony has the burden of proving the admissibility of
the testimony and the qualifications of the expert by a preponderance of proof. See

e.g., Meister v. Medical Engineering Corp., 267 F.3d 1123, 1127 n.9 (D.C. Cir, 2001)

(citing Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 592 n.10 (1993)); Newton v.

Roche Laboratories, Inc., 243 F.Supp.2d 672, 677 (W.D. Tex. 2002) (quoting Moore v.

Ashland Chem., Inc., 151 F.3d 269, 276 (5" Cir. 1998, en banc), for the proposition:

“The proponent need not prove that the expert’s testimony is correct, but she must

prove by a preponderance of the evidence that the testimony is reliable.”); Saldo v.
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Sandoz Pharmaceuticals, Inc., 244 F.Supp.2d 434, 526 (W.D.Pa. 2003) (stating:

“Plaintiff bears the burden of demonstrating that each of her proffered experts is
qualified to render an expert opinion, that the opinion is reliable, and that the opinion
would assist the trier of fact in resolving a disputed issue of material fact—here,

causation” and citing FedR.Evid. 702). In Caraker v. Sandoz Pharm. Corp., the court

reviewed the plaintiff's burden:

The plaintiffs had the burden of showing two things. First,
they had the burden of showing that their experts’ opinions
were reliable. The hallmark of this reliability prong is the
scientific method, i.e., the generation of testable hypotheses
that are then subjected to the real world crucible of
experimentation, _falsification/validation, and replication.
Second, they must show that their experts’ opinions ‘fit’ (i.e.,
have a valid scientific connection to) the issues in this
lawsuit so as to assist the fact-finder in understanding the
evidence. This requirement is not satisfied when there is
simply too great an analytical gap between the data and the
opinion proffered.

188 F.Supp.2d 1026, 1030 (S.D.III. 2001) (internal quotations omitted). “In challenging
plaintiff's proposed expert testimony, defendant is not required to come forward with
‘scientific evidence’ negating plaintiff's claims.” Id. “Rather, defendant is entitled to

point out deficiencies in plaintiff's proof.” Id. citing Celotex Corp. v. Catrett, 477 U.S.

317, 325 (1986).

4. The Standard for Admissibility of Expert Testimony

When determining whether a proffer of expert testimony is sufficient to meet the
burden of demonstrating evidentiary reliability, a trial court must review the testimony
and the qualifications of the expert to determine whether the expert testimony is

sufficiently reliable to be admissible. Dyas v. United States, 376 A.2d 827, 832 (D.C.

1977). In Dyas, the District of Columbia Court of Appeals announced a three part test
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applied to determine the admissibility of expert testimony: 1) “The subject matter must
be so distinctively related to some science, profession, business or occupation as to be
beyond the ken of the average layman; 2) “The witness must have sufficient skill,
knowledge, or experience in that field or calling as to make it appear that his opinion or
inference will probably aid the trier in his search for truth”; and 3) expert testimony is
inadmissible if “the state of the pertinent art or scientific knowledge does not permit a

reasonable opinion to be asserted even by an expert.” Haidak v. Corso, 841 A.2d 316,

322 (D.C. 2004) (quoting Dyas, 376 A.2d at 832). The Dyas test remains the standard

in the District of Columbia. Drevenak v. Abendschein, 773 A.2d 396, 418 n32 (D.C.

2001). The third prong of the Dyas test has been linked to the test announced in Frye v.
U.S., 54 App.D.C.46 (1923). Id.

5. Reliability Under Frye v. United States — General Acceptance

Frye is the standard test in the District of Columbia for determining admissibility
of expert testimony as scientifically reliable.* Drevenak, 773 A.2d at 418 n.32; Frye v.

United States, supra; see also Bahura v. S.E.W. Investors, 754 A.2d 928, 943 n.15

(D.C, 2000) (rejecting plaintiffs’ request to apply the Daubert standard in determining
the admissibility of their expert testimony: “The Frye test remains in effect in this

jurisdiction, however...”); United States v. Porter, 618 A.2d 629, 633 (D.C. 1992)

(Before applying the Frye test, the court states: “Some jurisdictions have therefore

abandoned Frye for a more liberal approach....This court, however, continues to adhere

to the traditional standard.”); Reed v. United States, 828 A.2d 159, 164 n.3 (D.C. 2003)

(rejecting appellant's argument that the standard set forth in Kumho Tire Co. v.

“ Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 593 (1993), has displaced Frye in many
jurisdictions. However, the more restrictive Frye test remains the standard in the District of Columbia.

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Carmichael, 526 U.S. 137 (1999), was the appropriate standard and noting “Kumho is
not the law in this jurisdiction, which uses the general acceptance standard set forth in

Frye v. United States.”). The Frye standard applicable in the District of Columbia is

more rigorous than the Daubert standard that now applies in federal court. See Porter,

supra, 618 A.2d at 633; Blum v. Merrell Dow Pharm., Inc., 564 Pa. 3, 5-6, 764 A.2d 1, 3

(Pa. 2000) (“Daubert [is] a standard somewhat less exacting than that of Frye”: “Daubert

relaxes, to some extent, the impediments to admission of novel scientific evidence.”)
Under the Frye test, a court must determine that the scientific method used by
the expert is “sufficiently established to have gained general acceptance in the
particular field in which it belongs.” Frye, 293 F. at 1024. As the District of Columbia
Court of Appeals has noted:
[GJeneral acceptance is general acceptance. If scientists
significant in either number or expertise publicly oppose a

new technique as unreliable then that technique does not
pass muster under Frye.

United States v. Porter, 618 A.2d 629, 634 (D.C. 1992) (internal citations omitted). “Frye

requires the profferor of the expert on a new scientific theory to show that the evidence
is not still in the experimental stage but has gained a scientific acceptance substantial
enough to warrant the exercise of judicial discretion in favor of admissibility.” lbn-

Tamas v. United States, 407 A.2d at 895 (Gallagher, J., concurring). Therefore, it is

vital to the admissibility of expert testimony that the methodology used by the expert to
reach his conclusion(s) is generally accepted in the scientific community as producing
scientifically reliable results.

The language of some cases refers primarily to methodology. Courts have

recognized that in evaluating the methodology used, a determination of admissibility
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requires determining whether the expert properly applied an accepted methodology to
reach his results. “[CJonclusions and methodology are not entirely distinct from one

another.” Joiner, 522 U.S. at 146. The distinction between methodology and its

application is simply not viable. In re Paoli RR Yard PCB Litigation, 35 F.3d 717, 745

(3 Cir. 1994) (“[I]t is extremely elusive to attempt to ascertain which of an expert’s
steps constitute parts of a ‘basic’ methodology and which constitute changes from that
methodology.”).

The importance of looking not only at the methodology purportedly used, but the
quality of the application of that methodology is particularly important where testimony is

not based on independent research. In re Phenylpropanolamine (PPA) Products

Liability Litigation, 289 F.Supp.2d 1230, 1238 (W.D.Wash. Jun. 18, 2003). “In the

absence of independent research or peer review, experts must explain the process by
which they reached their conclusions and identify some type of objective source
demonstrating their adherence to the scientific method.” Id. at 1238 (citing Daubert v.

Merrell Dow Pharmaceuticals, Inc., (“Daubert II"), 43 F.3d 1311, 1318-19 (9" Cir. 1995)

and Domingo v. T.K., 289 F.3d 600, 605-06 (gt Cir. 2002)). “When a scientist claims to

rely on a method practiced by most scientists, yet presents conclusions that are shared
by no other scientist, the...court should be wary that the method has not been faithfully

applied.” Lust v. Merrell Dow Pharmaceuticals, Inc., 89 F.3d 594, 598 (9"" Cir. 1996)

(concluding that to enforce the burden placed on the proponent to prove admissibility,
the court can exclude the opinion “if the expert fails to identify and defend the reasons
that his conclusions are anomalous’).

Moreover, a court need not rely on the expert’s averment that “the data
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underlying his or her opinion are the type of data on which experts reasonably rely.”

Merrell Dow Pharmaceuticals, Inc. v. Havner, 953 S.W.2d 706, 713 (Tex. 1997). If the

underlying data are so lacking in probative force and reliability that no expert could base

an opinion on them, an opinion which rests entirely on them must be excluded. Id.

(citing In re Paoli, 35 F.3d 717, 747-48 (3 Cir. 1994)); see also Nelson v. American

Home Products Corp., 92 F.Supp.2d 954, 968-969, 972-73 (W.D.Mo. 2000) (rejecting

experts’ opinions that amiodarone causes optic neuropathy where opinions were based
on unreliable data).

6. Opinions Generated in the Context of Litigation Are Unreliable

Before covering the specific types of evidence to which courts turn to determine
the scientific validity of a proffered opinion, it is important to note that federal courts
have routinely held that whether the proffered expert developed his opinions in the

context of litigation is significant. See Reynard v. NEC Corp., 887 F.Supp. 1500, 1507

(N.D.Fla, 1995); Washington v. Vogel, 880 F.Supp. 1545, 1548 (M.D. Fla. 1995): In re

Diet Drugs, No. MDL 1203, 2001 WL 454586, *14 (E.D.Pa. 2001). As stated in Lust,
[i]t is not unreasonable to presume that [an expert]’s opinion...was influenced by
litigation-driven financial incentive” when the expert is a professional plaintiff's witness.
89 F.3d at 597 (rejecting argument that expert developed his opinions outside the
litigation context despite expert's publishing an article prior to the Lust litigation).

7. Types of Scientific Evidence that May Support a Reliable Opinion

Courts have routinely looked to several types of evidence to determine the
reliability of expert testimony regarding causation, particularly in cases involving
allegations that a drug caused a disease or injury. Before examining the proffered

testimony in this case, a review of the types of evidence generally relied upon by

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experts is appropriate.

a. Epidemiological studies are the “gold standard”
“Epidemiological studies examine existing populations to attempt to determine if
there is an association between a disease or condition and a factor suspected of

causing that disease or condition.” Merrell Dow v. Havner, 953 S.W.2d 706, 715 (Tex.

1997). Epidemiological studies are the “gold standard” for determining a causal

relationship between a drug and an illness or injury. In re Breast Implant Litigation, 11

F.Supp.2d 1217, 1224-25 (D.Colo. 1998) (“Epidemiology is the best evidence of

causation in the mass torts context.”); see also Richardson v. Richardson-Merrell, Inc.,
857 F.2d 823, 831 n.59 & 832 (D.C.Cir. 1988) (“epidemiological studies are of critical
significance’); Meister, 267 F.3d at 1127 (“testing the case reports through
epidemiological studies — the methodology that calls for checking controlled population
studies to see if they confirm the hypotheses suggested in individual case reports — is

‘an important scientific approach.”); Miller v. Pfizer, Inc., 196 F.Supp.2d 1062, 1081

(D.Kan. 2002) (“the role of RCT’s and large-scale epidemiological studies as ‘very

pertinent’ in evaluating the relative risks of potential associations between sertraline and

suicide.”); Soldo v. Sandoz Pharm. Corp., 244 F.Supp.2d 434, 532 (W.D. Pa. 2003)
(“Epidemiology is the primary generally accepted methodology for demonstrating a
causal relation between a chemical compound and a set of symptoms or a disease.”),

In Allen v. Pennsylvania Eng’g Corp., 102 F.3d 194, 197 (5in Cir. 1996), the Court held

that where no epidemiologic study has found a statistically-significant link between the
product and the alleged injury, expert testimony of an association does not meet the

required standard of reliability. See also Brock v. Merrell Dow Pharmaceuticals, Inc.,

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874 F.2d 307, 311-15 (5 Cir. 1989) (holding that a lack of epidemiological proof is fatal,

especially where the only other evidence is animal studies); Lynch v. Merrell-Nat’l Labs..,

830 F.2d 1190, 1195-97 (1° Cir. 1987) (holding that epidemiological evidence is
required even where expert has submitted an analysis of chemical structure and of the
effect on animals). The absence of reliable epidemiological evidence can be fatal to the
proffer of expert testimony. Without such evidence, the profferor faces a difficult
challenge in meeting her burden of proving reliability.
b. Case reports are generally unreliable

Case reports are anecdotal reports of adverse events. Such reports evince “[a]
mere temporal association between exposure and an adverse occurrence [which] can
be due to chance or numerous other factors. . .[therefore,] anecdotal reports of adverse
events [are] unreliable evidence for analyzing general causation issues.” Soldo, 244

F.Supp.2d at 540; Meister, 267 F.3d at 1127; see also Glastetter v. Novartis Pharm.

Corp., 252 F.3d 986, 990-91 (8"" Cir. 2001) (“causal attribution based: on case studies
must be regarded with caution.”). Because of their unreliability, case reports are
generally not an accepted methodology for determining general causation. See Miller v.
Pfizer, Inc., 196 F.Supp.2d 1062, 1085 (D.Kan. 2001) (noting that “heavy reliance on
case reports is not an accepted methodology for determining the strength of association

between [a drug] and [an injury or disease]”); Nelson v. American Home Products Corp.,

92 F.Supp.2d 954 (W.D.Mo. 2000) (holding, despite fact that the case reports relied
upon were all published and therefore subject to peer review, “such reports evade
review because they do not advance testable scientific analysis’).

C. Differential diagnosis is used for determining specific causation and
requires the use of scientifically valid techniques to have

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evidentiary reliability
An expert can rely on differential diagnoses analysis to bolster the scientific

validity of his opinion regarding causation. See _e.g., Paoli, 35 F.3d at 758-59.

Differential diagnosis involves assessing causation with respect to a particular
individual. Id. at 758. The opinion of a doctor who has engaged in few standard
diagnostic techniques in conducting a differential diagnosis should be excluded unless
the doctor offers a good justification for his or her conclusion. Id. at 761. For instance,
“[wlithout sufficient reliable evidence of general causation,...experts c[an] not reliably
apply a differential diagnosis that comports with the scientific method, notwithstanding
the fact that physicians in clinical practice may be required to proceed with a differential
diagnosis on the basis of guesses or hypotheses due to the exigency of the need to
treat their patients.” Soldo, supra, 244 F.Supp.2d at 528-29. Differential diagnosis is a
technique for determining specific causation. It is inapplicable to the question of general
causation.

In conducting differential diagnosis, an expert is first required to “rule in’ the
alleged cause by showing that the drug is capable of causing the condition. Glastetter

v. Novartis Pharmaceuticals Corp., 252 F.3d 986, 989 (8" Cir. 2001) (“a physician

begins by ‘ruling in’ all scientifically plausible causes”); see also Hollander v. Sandoz

Pharmaceuticals Corp., 289 F.3d 1193, 1211 (10"" Cir. 2002) (‘the expert must ‘rule in’

the other suspected cause as well as ‘rule out’ other possible causes”). If the expert is
able to rule in the drug, then the expert must systematically “rule out” other potential
causes of the condition. Glastetter, 252 F.3d at 989 (‘the physician then ‘rules out’ the

least plausible causes of injury until the most likely cause remains”); Hollander, 289

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F.2d 1211. In ruling out plausible alternatives, the differential diagnosis is invalid if the
expert “offers no explanation for why he or she has concluded that was not the sole
cause, the [expert]’s methodology is unreliable.” Soldo, 244 F.Supp.2d at 551. In fact,
the “plaintiff's experts must show that [plausible alternative hypotheses] have been
reliably ruled out.” Id.

In summary, differential diagnosis does not obviate the need for scientifically
valid evidence that proves general causation. Rather differential diagnosis can only
validly proceed after general causation has been demonstrated, i.e. it has been shown
that the drug is capable of causing the injury. Glastetter, 252 F.3d at 989 (upholding
trial court's exclusion of differential diagnosis where the “data [did] not demonstrate to
an acceptable degree of medical certainty that [the drug] can cause [the alleged
injury]”); Hollander, 289 F.2d 1211 (“experts would need to present reliable evidence
that the drug can cause strokes’).

8. Daubert v. Merrell Dow Pharmaceuticals, Inc.

While Frye is the standard in District of Columbia courts, an examination of

Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), and the factors

adduced thereunder is enlightening. This is so both because so many decisions have
been rendered in federal courts applying the Daubert test in trying to determine

reliability and because the Daubert test does include a consideration of whether there is

general acceptance of a scientific methodology. Therefore, Daubert cases provide
examples of the outer limits of evidentiary reliability and of the application of the general

acceptance test.

In Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 592 (1993), the

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Supreme Court listed four specific factors that a trial court should consider when
determining the admissibility of expert testimony. The factors are: (1) Whether a theory
or technique can be (and has been) tested; (2) whether it has been subjected to peer
review and publication, (3) whether, in respect to a particular technique, there is a high
known or potential rate or error and whether there are standards controlling the
technique’s operation; and (4) whether the theory or technique enjoys general

acceptance within a relevant scientific community. See Kumho Tire Co., Ltd. v.

Carmichael, 526 U.S. 137, 149-50 (1999) (listing factors and quoting Daubert, 509 U.S.

at 592-94). Under Daubert, the factors are not exclusive. A trial court could properly
rely upon another set of reasonable reliability criteria that was appropriate to the
particular facts of the case. See Kumho, 526 U.S. at 158. Of course, the expert

testimony at issue in Daubert involved whether a drug caused a particular injury to

those taking it. Daubert, 509 U.S. at 579. The issue in the case at hand is, likewise,
whether there is a causal relationship between ingesting a therapeutic drug and a
temporally related illness or injury. Therefore, the original Daubert framework is well-
suited to an analysis of the case at hand.
ll. ARGUMENT

With regard to the first prong of the Dyas test, Defendant acknowledges that the
issue of causation in this complex medical malpractice case is “beyond the ken of the
average layman,” and therefore, expert testimony is necessary. Regarding the second
prong, Defendant does not, at this time, challenge the skill, knowledge, and experience
of Plaintiff's experts or treating physicians, but reserves the right to do so at a later date.

Thus, this Motion is directed at the sufficiency of Plaintiff's proffer with respect to the

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third prong of the Dyas test, which involves a reliability determination as guided by Frye.

Plaintiff has alleged that Seroquel, prescribed to her by Defendant, caused her to
suffer tardive dyskinesia. This claim is scientifically unfounded. Nevertheless, Plaintiff
intends to rely on expert and treating physician testimony in an attempt to support her
claim that Seroquel can cause tardive dyskinesia. Pursuant to the relevant (above-
cited) case law, in order to do so, Plaintiff has the burden of establishing that the current
state of scientific knowledge related to Seroquel permits a reasonable opinion to be
asserted by an expert; in other words, that there is an accepted, scientifically supported
basis for such an opinion. To accomplish this, Plaintiff must demonstrate for the Court
that Seroquel has been causally linked by some form of accepted scientific
methodology to tardive dyskinesia. However, Plaintiff's experts’ opinions to this point
are not well recognized scientific principles and are not supported by any methodology
accepted by the scientific community, notably due to the fact that no such methodology
exists. As such, none of Plaintiffs witnesses, expert or otherwise, can render a
reasonable opinion as to this point. Because the proffered expert testimony lacks a

sufficient scientific basis to meet the standard of reliability required by Erye and Dyas,

Plaintiff should be precluded from offering testimony on the causation issue of Seroquel
causing tardive dyskinesia.

A review of the deposition testimony of five witnesses (four of whom testified on
behalf of Plaintiff and one of whom testified on behalf of prior Co-Defendant
AstraZeneca)” elucidates the lack of scientific support for Plaintiff's allegation that

Seroquel caused Plaintiff to suffer tardive dyskinesia. Below are excerpts from those

° AstraZeneca is no longer a party to this case, summary judgment having been granted in their favor on
July 9, 2012.

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depositions which highlight the lack of scientific methodology or data necessary to
permit Plaintiff's experts the ability to offer a reasonable opinion in support of Plaintiffs
allegation that Seroquel caused Plaintiff to suffer tardive dyskinesia.

A. There is no evidence based on the clinical trials conducted on
Seroqeul that Seroquel causes tardive dyskinesia.

AstraZeneca, the pharmaceutical manufacturer of Seroquel, has conducted
extensive clinical research on Seroquel. Specifically, 26,000 patients were involved in
clinical trials over the course of a 15 year period (from approximately 1994 — 2009).
Exh. 2 at 108. Thor Rak, M.D., AstraZeneca’s Vice President of the Global Clinical
Neuroscience Therapy Division, who testified on behalf of AstraZeneca, was hired by
AstraZeneca in 1996 and began working with Seroquel as a researcher that same year.
Id. at 81:22 — 82:5. As a result of his position with AstraZeneca and his involvement in
the Seroquel clinical trials, Dr. Rak possesses an intimate familiarity with the Seroquel
clinical trial results, i.e., its effectiveness in treating various conditions and, pertinent to
this case, the possibility of it causing tardive dyskinesia.

Dr. Rak’s deposition was noted by Plaintiff's counsel. During his deposition, Dr.
Rak was specifically asked about the connection between Seroquel and _ tardive
dyskinesia. As set forth below, a review of the data gleaned from the Seroquel clinical
trials, which was explained by Dr. Rak during his deposition, reveals that Seroquel is not
a recognized cause of tardive dyskinesia. To this end, consider the following:

Q: Doctor, can Seroquel cause tardive dyskinesia?
A: Based on everything we know about the medicine, | would say no.

Id. at 8:9-12.

Q: Then just so I’m clear. I’m getting ready to move on. So based on the
Seroquel studies you’re aware of these 26,000 people, .2 percent of those

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developed tardive dyskinesia while taking Seroquel, but there’s no
evidence that the Seroquel was the cause of the tardive in those
patients; is that correct?

A: That’s correct.

Id. at 41:9-16° [emphasis added].

Q: Now, those 53 reports, did they have similar sorts of confounders of

other drugs, other conditions as the three that you had seen back in 1997

with schizophrenia?

A: That certainly was the pattern we were seeing. So because the

patients had so many other risk factors for tardive dyskinesia, we could

not conclude, nor did the FDA conclude that Seroquel causes tardive

dyskinesia.

Q: So even as of 2009 when you're now seeing 26,000 patients, was there

evidence that would allow you to conclude that Seroquel causes tardive

dyskinesia?

A: No, there was no evidence that would support that conclusion, no.

Id. at 123:23 — 124:15.’

Dr. Rak’s deposition testimony clearly established that the clinical trials provided
no evidence establishing a causal link between Seroquel and tardive dyskinesia.
Moreover, none of Plaitniff's expert witnesses (or treating fact witnesses) contradicted,
or even attempted to contradict, Dr. Rak’s explanation of the fact that the Seroquel
clinical trials resulted in the conclusion that Seroquel is not a recognized cause of
tardive dyskinesia. Similarly, Plaintiff's experts did not (nor could they) point to any
other clinical studies or epidemiological studies — which are the “primary generally

accepted methodology for demonstrating a causal relation between a chemical

compound and a set of symptoms or a disease” (Soldo, 244 F.Supp.2d at 532) — that

° The .2% figure represents 52 — 53 reports of tardive dyskinesia in 26,000 clincial database patients over
the course of approximately 15 years of clinical research with Seroquel. See Rak Deposition, 108.

” In other words, Dr. Rak testified that all 53 patients who report tardive dyskinesia during the clinical trials
exhibited risk factors known to cause tardive dyskinesia. Therefore, because other causes of tardive
dyskinesia were present, it was not possible to establish a causal link between Seroquel and tardive
dyskinesia. On the other hand, none of the patients who took Seroquel absent other risk factors reported
developing tardive dyskinesia. Thus, it is important to recognize this distinction when reviewing the
Clinical trial results and evaluating Plaintiffs causation allegation.

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resulted in data contrary to the Seroquel clinical trials. Clearly then, based on Dr. Rak’s
uncontroverted testimony, no scientific data exists upon which Plaintiff's experts (or
treating fact witnesses) can rely to support their opinions that Seroquel can cause
tardive dyskinesia.

B. With the exception of this Plaintiff, none of Plaintiff's expert or other
witnesses have ever diagnosed a patient with Seroquel-induced
tardive dyskinesia.

Three of Plaintiff's experts and one treating physician testified that they have
never diagnosed a patient (other than Plaintiff, conincidently) with Seroquel-induced
tardive dyskinesia. This testimony is consistent with the above-addressed clinical trial
conclusion that Seroquel is not a cause of tardive dyskinesia. Below are excerpts
reflective of that testimony.

1. Basil Jackson, M.D.

Dr. Jackson, a liability and standard of care expert designated by Plaintiff, has
practiced psychiatry for 53 years and even today, continues to prescribe medication and
perform medication reviews. However, in spite of all of his experience, Dr. Jackson has
“never seen tardive dyskinesia as the result of Seroquel.” Jackson Deposition, attached
hereto as Exhibit 3, at 15:19-20. Later in his deposition, Dr. Jackson reiterated this fact,
stating: “I believe my earlier testimony was that | have never seen a patient develop —
conclusively develop tardive dyskinesia as the result of Seroquel.” Id. at 52:21-23.

2. Steven Lo, M.D.

Dr. Lo, who completed a four-year residency in neurology and a two-year

fellowship in movement disorders, is currently an assistant professor of neurology at the

Georgetown University School of Medicine and a member of the movement disorder

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division where his primary responsibility is to evaluate and manage patients with
movement disorders. Plaintiff designated Dr. Lo, one of Plaintiffs treating neurologists,
as an expert. In his capacity as Plaintiff's treating neurologist, Dr. Lo diagnosed Plaintiff
with Seroquel-induced tardive dyskinesia. However, that diagnosis was made absent
any accepted scientific basis and Dr. Lo testified that Plaintiff's Seroquel-induced tardive
dyskinesia diagnosis was made despite the fact that he had never seen or heard of any
other case where such a diagnosis had been made. Lo Deposition, attached hereto as
Exhibit 4, at 133:13 — 134:2,. Specifically, Dr. Lo testified that Plaintiff was, and
remains, the only person he has ever seen with a diagnosis of Seroquel-induced tardive
dyskinesia.

Q: At the time you started seeing Ms. Patteson you had never seen a

presentation like hers due to Seroquel alone; correct?

A: Correct
Id. at 115:5-8

Q: Since you first saw Kay Patteson in your personal experience have you

ever had another patient have a presentation similar to Kay Patteson

where Seroquel was the only neuroleptic involved?

A: No.
Id. at 116:11-15. Seemingly aware that the causal link between Seroquel and tardive
dyskinesia upon which his diagnosis was founded is not accepted by the medical field,
Dr. Lo essentially testified that his diagnosis was not conclusive, stating that he was
unable to exclude other possible causes of Plaintiff's alleged tardive dyskinesia (see id,
at 124 — 125) and that he identified Seroquel as a potential cause of Plaintiff's tardive
dyskinesia because he was unable to identify another cause. Id. at 133:13 — 134:2. Dr.

Lo provided no scientific methodology or evidence in support of his opinion. His

testimony is wholly consistent with Dr. Rak’s testimony regarding the clinical findings

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addressed above.
3. Sudeshna Bose, M.D.

Dr. Bose, designated as an expert by Plaintiff, completed a residency in
neurology and a fellowship in movement disorders. She has been practicing as a
movement disorder specialist since approximately 2002. Consistent with the above
opinions, though elusive in her answers, Dr. Bose was unable to provide an instance
where she diagnosed a second-generation antipsychotic-induced tardive dyskinesia.

Q: Okay. Have you ever been the initial physician making a diagnosis of a
second-generation neuroleptic-induced tardive dyskinesia where the
patient had not previously been on a first-generation neuroleptic?

A: | can't tell you off the top of my head.

Q: Fair statement to say that you do not recall making the diagnosis
yourself of a second-generation neuroleptic tardive dyskinesia where a
first generation has not also been in play?

A: Again, | — you know, | just don’t remember.

Bose Deposition, attached hereto as Exhibit 5, at 15:17 — 16:2. In fact, Dr. Bose
essentially testified that she had no basis whatsoever for her conclusion that Plaintiff
suffered from Seroquel-induced tardive dyskinesia.

Q: Doctor, we can agree, | think, you testified earlier that you did not do
any specific workup of Kay Patteson to ascertain whether she in fact had a
Seroquel-induced tardive dyskinesia, correct?

A: That’s correct.

Q: In addition to that you did no independent investigation to ascertain
whether Kay Patteson had a Seroquel-induced tardive dyskinesia,
correct?

A: That’s correct.

Q: And as we went through you could not indentify what, if any records
that you had that led you to believe that Kay Patteson has a Seroquel-
induced tardive dyskinesia, correct?

A: That's correct.

Q: And as you sit here today the only basis that you have that Kay
Patteson herself had a Seroquel-induced tardive dyskinesia is from the
history that you elicited from the patient?

A: Yeah, yes.

® The terms antipsychotic and neuroleptic may be used interchangeably.

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Id. at 68:12 — 69:9. This exchange serves as a further discredit to Dr. Bose’s diagnosis
of Seroquel-induced tardive dyskinesia. Aside from the fact that there is no scientific
support for her diagnosis (if that glaring reality can be set aside), Dr. Bose’s testimony
clearly demonstrates that she does not possess the requisite personal knowledge of
Plaintiff's circumstances or the underlying facts of this case to render helpful opinions
related to Plaintiff's health conditions. As such, her testimony should be excluded.

4, Peter Bernad, M.D.

Dr. Bernad, one of Plaintiff's treating neurologists, is a board-certified neurologist
with 28 years of experience. Dr. Bernad echoed the above testimony, stating that he
could not attribute Seroquel to tardive dyskinesia. Specifically, Dr. Bernad testified with
regard to this point:

Q: Okay. On that second subset of patients who had never been on a

previous first-generation antipsychotic, have you ever seen neurologic

problems similar to Kay Patteson’s just taking Seroquel up — as of May of

x: | would [say] no.°
Bernad Deposition, attached hereto as Exhibit 6, at 14:9-14

Q: Up until [May of 2007] had you ever seen a patient who had only been

on Seroquel suffer those types of neurologic complaints?

A: No.

Id. at 16:20 — 17:17.

The personal experiences of the above experts and treating physicians — all of

whom testified that Plaintiff is the only person they have ever seen who has been

diagnosed with Seroquel-induced tardive dyskinesia — is consistent with the Seroquel

clinical trials that resulted in the conclusion that Seroquel is not a cause of tardive

° The word “say” has been included as a contextual review of the entirety of this portion of the transcript
leads to the conclusion that the word “say” was inadvertently omitted.

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dyskinesia. The consistency in testimony among Plaintiff's experts further supports the
fact that the current state of scientific knowledge does not permit those experts to assert
a reasonable opinion that Seroquel causes tardive dyskinesia. Thus, Plaintiff's experts
and treating physicians should be precluded from testifying that Seroquel can cause
tardive dyskinesia or that Plaintiff suffered from Seroquel-induced tardive dyskinesia.

C. No medical literature or study that links Seroquel to tardive
dyskinesia.

There exists no medical literature that attributes Seroquel to causing tardive
dyskinesia, a fact which was corroborated by Plaintiffs experts and relevant treating
physicians. Plaintiff's witnesses who testified regarding her claim of a causal link
between Seroquel and tardive dyskinesia uniformly agree that no medical literature or
study exists that establishes a causal link between Seroquel and tardive dyskinesia.
The clarity of the deposition testimony, outlined below, obviates the need for additional
commentary.

1. Basil Jackson, M.D.

The following exchange occurred during Dr. Jackson’s testimony:

Q: Okay. You yourself have never seen a case nor read about a case,

aside from Kay Patteson, of tardive dyskinesia where only a second

generation neuroleptic was used, such as Seroquel, correct?

A: Correct.

Exh. 3 at 65:13-17.
2. Steven Lo, M.D.

From the deposition of Dr. Lo:

Q: And you hadn't seen any case like this in the literature before; right?
A: That’s true.

Exh. 4 at 36:11-13.

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Q: And you hadn't heard of any case reports of Seroquel being associated
with any tardive dyskinesia?
A: No specific case reports, no.

Id. at 84:4-7.

Q: During all the literature that you reviewed either to prepare for the
presentation in Paris or at any other time during the course of your
professional career have you ever seen a presentation similar to Kay
Patteson where Seroquel was the only medication involved?

A: No.

Id. at 117:6-12. Closing the loop on Dr. Lo’s knowledge of any scientific methodology

that could support this diagnosis, the following exchange occurred:

Q: Have you seen from any source beyond literature, your own personal
experience or any CME conference or other conferences where there has
been a patient that's presented similar to Kay Patteson where Seroquel
was the only neuroleptic used?

A: No.

Id. at 119:9-14.

3. Sudeshna Bose, M.D.
Continuing to provide elusive responses, Dr. Bose testified:
Q: Are you able to point me to any medical literature which shows that a
second-generation neuroleptic has caused a case of tardive dyskinesia?
A: Not offhand.

Exh. 5 at 15:5-8.

4. Peter Bernad, M.D.
From the deposition of Dr. Bernad:
Q: Okay. Have you ever read about it in the medical literature that you can
recall a patient suffering the types of neurologic complaints that Kay
Patteson was complaining to you of on May 5, ’07, that was only on

Seroquel?
A: No.

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Exh. 6 at 17:2-7.

The absence of any medical literature linking Seroquel to tardive dyskinesia is
further support for the fact that there is no scientific methodology in support of Plaintiff's
experts’ opinions that Seroquel causes tardive dyskinesia. This reality is all the more
glaring when considered in light of the fact that Plaintiff's experts agree that no such
methodology exists. As the current state of scientific knowledge does not permit a
reasonable opinion (that Seroquel causes tardive dyskinesia) to be asserted, Plaintiff's
experts and treating physicians should be precluded from testifying that Seroquel can
cause tardive dyskinesia or that Plaintiff suffered from Seroquel-induced tardive
dyskinesia.

D. The Seroquel package insert/Physicians’ Desk Reference (“PDR”)
does not provide any support for Plaintiff's allegation that that
Seroquel causes tardive dyskinesia.

In what appears to be an attempt to validate Plaintiffs claim that Seroquel can
cause tardive dyskinesia, Plaintiff's counsel focused a great deal of attention during Dr.
Rak’s deposition on the fact that the Seroquel package insert (which insert is reflected
in the PDR) warns of the potential side effect of tardive dyskinesia. However, as
explained by Dr. Rak, the warning does not indicate anywhere that Seroquel can cause
tardive dyskinesia. Rather, the package insert contains a general tardive dyskinesia
warning applicable to all similar medications. Known as a class label or warning, that is
included with every atypical antipsychotic medication. To that point, Dr. Rak testified
that “the package insert that we’re referring to is the US label. So that is what the FDA
wants to be stated in the label for all antipsychotic medications. And the FDA would not

differentiate Seroquel compared to other medications in this class.” Exh. 2 at 12:6-11.

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Reiterating this point, Dr. Rak stated that “the health authorities would not want to give
one medication a competitive advantage. So they imposed a class label on all of the
medicines in the new class.” Id. at 133:8-11. Dr. Rak further explained that “the
language that the FDA insists that we have in our package insert is different from the
language we would have stating our company position about Seroquel.”"? Id. at 13:12-
15.

The concept that a warning of a side effect does not necessarily indicate that a
particular medication can actually cause the warned-of side effect was explored in an

unreported Federal Claims decision.'' Stapleford v. Secretary of Health and Human

Services, No. 03-234V, 2009 WL 1456441, at *11 (Fed.Cl. May 01, 2009) (affd

Stapleford ex rel. Stapleford v. Secretary of Dept. of Health and Human Services, 89

Fed.Cl. 456 (2009)). In Stapleford, petitioner alleged that a vaccine caused her child’s
seizure disorder and developmental problems. At issue in that case, among other
things, was the question of whether a warning in the PDR was sufficient to establish
causation. The Court held that the PDR warning did not provide significant or sufficient

evidence of causation, stating in pertinent part:

[T]he important general lesson from those opinions is that the mere listing
of a potential adverse event in the PDR section applicable to a particular
vaccination should not automatically be viewed as evidence that the
vaccination can cause that adverse event. As the evidence in this case
demonstrates, adverse events may be listed in the PDR merely because
they have been reported to occur after vaccination, without any
determination by anyone as to whether it is plausible that the vaccination
can actually cause such events. Rather, in any case in which a PDR
excerpt is offered as evidence of causation, one must study the particular
entry in the PDR. In some instances, the PDR may describe actual
studies that do provide significant evidence pointing to a causal

'° AstraZeneca’s company position, based on clinical research, is that Serogeul has not been
demonstrated to cause tardive dyskinesia. See Rak Deposition, 9:17-21.
" Rendered by a special master.

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relationship. But in other instances, the PDR may merely list an adverse
event as having occurred, without providing any significant evidence as to
causality. In this particular case, | find that the particular PDR excerpt
does not provide significant evidence concerning causation. . .”

Id. at *11-12 [emphasis in original]. Here, like in Stapleford, the warning does not
“describe actual studies that do provide significant evidence pointing to a causal
relationship” between the medication and the complained of injury. Id. at 11. Thus, the
package insert/PDR is insufficient support for Plaintiff's allegation of a causal link
between the medication (Seroquel) and the complained of injury (tardive dyskinesia).
As the package insert in the instant case does not reflect scientific methodology or
accepted knowledge regarding a causal link between Seroquel and tardive dyskinesia,
and because the warning is present as a non-Seroquel specific class warning at the
insistence of the FDA rather than as a result of evidence derived from scientific studies,
the inclusion of such a warning in the package insert does nothing to bolster or validate
Plaintiff's scientifically unfounded allegation that Seroquel caused her to suffer tardive
dyskinesia.
IV. CONCLUSION

Plaintiffs allegation that Seroquel caused her to suffer tardive dyskinesia is
clearly unfounded in scientific methodology and is unsupported by any evidence. The
testimony addressed herein establishes that there is no accepted scientific methodology
upon which anyone in the medical profession could rely in establishing a causal link
between Seroquel and tardive dyskinesia. That unmistakable conclusion does not lend
itself to a reasonable opinion as required by Frye and Dyas and therefore, Plaintiff
cannot meet her burden of establishing the admissibility of her experts’ and treating

physicians’ testimony.

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Plaintiff's experts and treating physicians could have relied on several different
methodologies (see supra Section II.6) in support of their conclusion that Seroquel can
cause tardive dyskinesia, including, notably, epidemiological studies which are the
“primary generally accepted methodology for demonstrating a causal relation between a
chemical compound and a set of symptoms or a disease.” Soldo, 244 F.Supp.2d at 532.
However, they did not rely on any such methodologies because no such methodologies
exist with regard to Seroquel. Because none of Plaintiff's witnesses have a scientific
basis for their opinions that Plaintiff suffered from Seroquel-induced tardive dyskinesia,
and because the state of scientific knowledge does not permit such an opinion (or, in
the parlance of Frye, lacks sufficient establishment to have gained general acceptance)
Defendant respectfully requests that all of Plaintiff's experts be precluded from offering
testimony on the unfounded causation issue of Seroquel-induced tardive dyskinesia.

WHEREFORE, for the foregoing reasons, Defendant John R. Maloney, M.D.
respectfully requests this Honorable Court preclude the testimony of Plaintiff's experts

and treating physicians on the issue of Seroquel-induced tardive dyskinesia.

Respectfully submitted,

/s/ Gregory S. McKee
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CERTIFICATE OF SERVICE

| HEREBY CERTIFY that on this 15 day of July, 2013, a copy of Defendant John
R. Maloney, M.D.’s Memorandum of Points and Authorities was sent via e-mail and
mailed, postage prepaid, to:

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF THE DISTRICT OF COLUMBIA

KAY PATTESON
and GARY PATTESON

Case: 1:10-CV-01760
Judge James E. Boasberg

Plaintiffs,
Vv.
JOHN R. MALONEY, M.D.,

Defendant.

Ne Nee” eee Smee” ree Sane” Sine See” Net Senet” ene ee”

ORDER

Upon consideration of Defendant John R. Maloney, M.D.’s Motion for Frye
Hearing regarding the proposed trial testimony of Plaintiff's experts and non-expert
treating physicians as to the issue of Seroquel-induced tardive dyskinesia, and any

opposition thereto, if is this day of , 2013, in the United States

District Court for the District of Columbia, hereby

ORDERED, that the aforementioned Motion is GRANTED.

James E. Boasberg, Judge
United States District Court for the
District of Columbia

Copies to:

See Attachment A
Case 1:10-cv-01760-JEB Document 57

Attachment A

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